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Iase 8:16-cV-00009-DF|\/| Document 26-1 Filed 03/18/16 Page 1 of 19 Page |D #:399

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Attorneys for Defendants
QUALITY SYSTEMS, INC. and NEXTGEN
HEALTHCARE INFORMATION SYSTEMS, LLC

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

TRACI WOLBERT, ) CASE NO.: SACV16-00009 (JLSX)
)
Plaintiff, )
) DECLARATION OF ANDREW D.
vs. ) LA FIURA IN FURTHER SUPPORT
) OF DEFENDANTS’ MOTION TO
QUALITY SYSTEMS, INC. NEXTGEN ) TRANSFER VENUE
HEALTHCARE INFORMATION )
SYSTEMS, and DOES l through lO, ) Complaint Filed: December 3, 2015
INCLUSIVE, ) Trial Date: August 8, 2017
)
Defendants. )
)

 

I, Andrew D. La Fiura, being duly sworn, declare and state as follows:

l. I arn one of attorneys representing Defendants Quality Systerns, Inc. (“QSI”)
and NeXtGen Healthcare Inforrnation Systems, LLC (“NeXtGen”) in this matter. I submit
this declaration in support of Defendants’ Motion to Transfer Venue. The following is
based on my personal knowledge, and my knowledge based on my review of and

familiarity with the pleadings, orders, and correspondence relating to the above-captioned

 

 

 

Case NO.: 8:16-CV-00009 l LA FIURA DECLARATION IN
SUPPORT OF VENUE TRANSFER

 

 

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jase 8:16-cV-00009-DF|\/| Document 26-1 Filed 03/18/16 Page 2 of 19 Page |D #:400

matter. If called as a witness, I could and would competently testify to the facts
contained herein.

2. Attached as Exhibit 1 is a true and accurate copy of Plaintiff’ s Rule 26
Initial Disclosures.

3. Attached as Exhibit 2 is a true and accurate copy of the Affidavit of M.
Benj amin Mehling.

4. Attached as EXhibit 3 is a true and accurate copy of the Affidavit of Matthais
Wagener, Esq. v

5 . Attached as EXhibit 4 is a true and accurate copy of the United States
Courts’ Explanation of Terms, which were accessed on February 23, 2016 through the
United States Courts website at http://www.uscourts.gov/statistics/table/na/federal-court-

management-statistics/2015/06/3 0-3.

 

l swear under penalty of perjury and the laws of the United States and California
that the foregoing is true and correct to the best of my knowledge and belief.

Sworn to this March 18, 2 16 at Philadelphia, Pennsylvania.

 

A@ew D. La Fiura

4822-7938-5391, v. l

 

 

 

Case NO.: 8:16-CV-00009 2 LA FIURA DECLARATION IN
SUPPORT OF VENUE TRANSFER

 

 

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EXHIBIT 1

 

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GREENBLATT PIERCE ENGLE FUNT & FLORES, LLP

123 South Broad Street, Suite 2500
Philadelphia, PA 19109
Tel.: (215) 735-1600
Fax: (215) 735~1660

Attorneys for Plaintiff TRACI WOLBERT

UN][TED STATES DISTRIC'][` COURT

CENTRAL DIS'][`RICT OF CAL][FORN][A ~ SOUTHERN DIVISION

TRACI WOLBERT,
Plaintiff,

VS.

QUALITY SYSTEMS, INC.,
NEXTGEN HEALTHCARE
INFORMATION SYSTEMS, and
DOES l through 10, INCLUSIVE.

Defendants.

 

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Case No. SACV16-00009 .F]LS (]DIFMX)

PLAINTIFJF TRACI woLBERr’s
er'rrAL nisCLosUREs PURSUANT
To FEJD>. R. Crv. P. 26 (a)

TO: DEFENDANTS QUALITY SYSTEMS, INC., NEXTGEN HEALTHCARE

INFORMATION SYSTEMS

Pursuant to Federal Rules of Civil Procedure 26(a) Plaintiff TRACI WOLBERT
(hereinafter “Plaintiff’) hereby discloses to Defendant QUALITY SYSTEMS, INC. and
NEXTGEN HEALTHCARE INFORMATION SYSTEMS (hereinafter “Defendants”)

 

PLAINTIFF TRACI WOLBERT’S INlTIAL DISCLOSURES PURS\UANT TO FED. R. CIV. P. 26 (a)

 

 

 

 

 

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(A)

 

 

the following:

The name and address of each person reasonably likely to have information
that bears significantly on Plaintiff’s claims identifying the subjects of
information:

'll`he following list of people Who may have information on liability concerning the
subject matter of this case:

2.

PLAINT[FF TRACI WOLBERT’S INlTIAL DISCLOSURES PURSUANT TO FED. R. CIV. P. 26 (a)

Traci Wolbeit x

c/o Greenblatt Pierce Engle Funt & Flores, LLC
123 S. Broad Street, Suite 2500

Philadelphia, PA 19109

Ms. Wolbeit has information concerning all aspects of liability and damages

Alicia Carden

Manager Clinical Analysts
Quality Systems, Inc.
Raleigh, NC

Has information concerning Plaintiff’s performance on the KBM Project and
has witnessed some of Steve Puckett’s harassment of Plaintiff.

Terri Chamberlain
Kansas City, MO

Forrner sales executive has information concerning harassment or retaliation of
Plaintiff and/or other female employees who complained of sexual harassment

Christie Guthrie
Vice President of InPatient Program l\/ianagement

Quality Systerns, lnc.
Dallas, TX

Tool< over Plaintiff`s role on NG'7 and assumed supervision of the design team
managed by Plaintiff after she was demoted

Cheri Eplion

Regional Director Sales
Simbiote Development LLC
New Albany, Indiana

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Has information concerning Defendants’ maintenance of sexually hostile work
environment and practice of punishing women who complained of sexual
harassment

6. Sheldon Razen
Forrner Chairman of the Board
Quality Systerns, lnc.
lrvine, CA

Had knowledge of prior sexual harassment complaints against Steve Puckett.
Authorized investigation into Plaintiff’s complaint against Puckett. Had final
approval authority for all decisions made concerning the NG7 product

7. Donna Greene
Sr. Vice President of Human Resources
Quality Systerns, Inc.
l Irvine, CA

Has information concerning harassment or retaliation of Plaintiff and/or other
female employees who complained of sexual harassment

8. Robert Hale
Product Owner NG7
c/o Quality Systems, lnc.
Atlanta, GA

l\/lay have information concerning Plaintiff’ s performance on KBM or NG7
projects and/or all aspects of Plaintiff’ s performance Has information
concerning Puckett’s decision-making authority for the NG7 product

9. Vicky Hewlett
Forrner VP of HR
Hewlett Greene Consulting
Laguna Hills, CA

l\/lay have information concerning harassment or retaliation of Plaintiff and/or
other female employees who complained of sexual harassment Believed to
have investigated Puckett for prior sexual harassment claim(s).

10. Mike Lovett
Vice President of Operations
NeXtGen
Horsham, PA

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PLAINTIFF TRACI WOLBERT’S INlTIAL DISCLOSURES PURSUANT TO FED. R. CIV. P. 26 (a)

 

 

 

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11.

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15.

l-Ias information concerning Plaintiffs performance on KBM or NG7 projects
and/or all aspects of Plaintift`s performance

Ben l\/lehling ,
Former Vice President of NG7 Development
lrvine, CA

Has information concerning Plaintiff’s performance on KBM or NG7 projects
and/or all aspects of Plaintiff’ s performance Terminated Plaintiff.

Dan l\/lorefreld

Chief Operating Offrcer, EVP Operations
Quality Systems, Inc.

Irvine, CA

Has information concerning performance of Plaintiff and Puckett on NG7,
KBM and other products. Was a decision-maker on the Medicin product and
assumed Puckett’s duties.

Ricki Morgan

Chief Executive Offrcer
Ciscon Consulting
Ricki.morgan@ciscon.com

Consultant on NG7. Has information concerning KBM and NG7 projects
during and after Plaintiff’ s termination

Nancy Murphy
293 5 Oklahoma Road
Willow Grove, PA 19090

Former HR Manager. Has information concerning harassment or retaliation of
Plaintiff and/or other female employees who complained of sexual harassment;
has information concerning Donna Greene’s pattern of protecting male
executives accused of sexual harassment by attempting to develop evidence of
poor performance against the female victims of the harassment

Robert Murry, M.D.
200 Frenchtown Rd.
Milford, NJ 08848

Has final approval of all medical and legal related decisions for the NG7
product and has information concerning Plaintiff’s performance on KBM and
NG7 projects and/or all aspects of Plaintiff’s performance

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PLAINTIFF TRAcr woLBERT’s 1NITIAL DrscLosuRns PURSUANT ro FED. R. crv. P. 26 (a)

 

 

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21.

Steve Puckett
Former Chief Technical Offrcer, Quality Systems, lnc.
Orlando, Florida,

Sexually harassed, demoted and conspired to terminate Plaintiff. Mr. Puckett
has information concerning Plaintiff’s performance on KBl\/l or NG7 projects
and/or all aspects of Plaintiff’s performance.

Tonia Rockwell

c/o Spray Gould & Bowers
lrvine, CA

Has information concerning Defendants’ maintenance of sexually hostile work
environment and punishment of Women who complained to human resources
about sexual harassment

Andrew Seymour
Atlanta, GA

l\/lay have information concerning harassment or retaliation of Plaintiff and/or
other female employees who complained of sexual harassment

Dawn Sowash

Director of Programs
Nextgen/Quality Systems, lnc.
Horsham, PA

Reported to Plaintiff; has information concerning harassment or retaliation of
Plaintiff and/or other female employees Who complained of sexual harassment
and has information concerning Plaintiff s performance and management of
her direct reports.

Diane Spengel

Former l\/lanager of Design
Nextgen/Quality Systems, lnc.
Princeton, N. J.

Worked under Plaintiff and has information concerning harassment or
retaliation of Plaintiff and/or other female employees who complained of
sexual harassment

Gary Voydanoff

Executive VP of Sales
Nextgen/Quality Systems, lnc.
Ann Arbor, l\/H

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PLAlNTIFF TRACl WOLBERT’S lNITlAL DISCLOSURES PURSUANT TO FED. R. ClV. P. 26 (a)

 

 

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22.

(B)

Was part of senior management approval process for NG7 product and has
information concerning Plaintiff’s performance on KBM and NG7 projects
and/or all aspects of Plaintiff s performance

Matthias Wagener Esq.
Westlake Village, CA

Retained by QSI to conduct investigation into Plaintiff’s complaint of sexual
harassment and retaliation by Puckett and of Donna Greene’s participation in
targeting females who alleged sexual harassment for discipline and discharge

A description by category and location of all documents and things that
Plaintiff may use to support her claims unless used for purposes of

impeachment

Document

Location

 

 

1.

Correspondence and documents reflecting
Plaintiff’s performance compensation and
bonuses;

Documents and correspondence reflecting
Plaintiff’ s work product;

. Cornmunications between Plaintiff and

Defendants Puckett and Donna Greene
concerning the harassment and retaliation;
Communications between Plaintiff and
Defendants Puckett and Donna Greene
concerning the harassment and retaliation;

QSl Employee Handbook; the Code of
Business Conduct and Ethics

Documents are in the custody of

Plaintiff.

 

 

 

(C)

(D)

A Computation of Darnages and Supporting Documents

Plaintiffs currently have the following back pay losses, but despite extensive
mitigation efforts, losses continue Plaintiff has prepared the Excel spreadsheef
attached hereto at Exhibit A reflecting anticipated wage loss. Since its preparation
Plaintiff has obtained alternate employment at a reduced salary which will require
recalculationl

Any fnsurance Agreement Under Which An llnsurance aniness lVl[ay be
]Liable to Satisfy all or part of a possible Judgment:

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PLAINTIFF TRACI WOLBERT’S INlTIAL DISCLOSURES PURSUANT TO FED. R. CIV. P. 26 (a)

 

 

 

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1 Plaintiffs are not aware of what insurance agreements may cover the claims
9 brought in this action.
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4 Dated: _lj_L /M<(;__\//L/"

Patricia V. Pierce (SBN 175646)

5 p.pierce§a}gpeff.com
6 GREENBLATT PIERCE ENGLE
FUNT & FLORES
7 123 S. Broad Street, 25th Floor
g Philadelphia, Pennsylvania 19109
9 Tel: 215-735-1600;Fax: 215-735-1660
10 Sharon R. Vinick (SBN 129914)

sharor@levvvinick.com

11 LEVY VINICK BURRELL HYAMS LLP
180 Grand Avenue, Suite 1300

“ Oakland, CA 94612

13 Tel.: (510) 318-7700

14 Fax: (510) 318-7701

15 Attorneysfor Plaintijj”
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PLAINTIFF TRACI WOLBERT’S INlTIAL DISCLOSURES PURSUANT TO FED. R. CIV. P. 26 (a)

 

 

 

 

 

 

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EXHIBIT 2

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

TRACI WOLBERT,
Plaintiff,
vs.
QUALITY SYSTEMS, INC. NEXTGEN
HEALTHCARE INFORMATION SYSTEMS,
and DOES 1 through 10, INCLUSIVE,

Defendants.

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CASE NO.: SACV16-00009 JLS (DFMX)

[Assigned to the Hon. Josephine L. Staton,
Courtrm. 10A]

AFFIDAVIT OF M. BENJAMIN MEHLING
IN SUPPORT OF DEFENDANTS’ MOTION
TO TRANSFER VENUE

Hearing Date: April 1, 2016
Time: 2:30 p.m
Courtroom: 10a

Complaint Filed: December 3, 2015
Trial Date: August 7, 2017

AFFIDAVIT OF M. BENJAMIN MEHLING

I, M. Benj amin Mehling, being duly sworn do depose and say as follows:

1. l was previously employed as Vice President of Research & Development for Quality

Systems, Inc. (“QSI”).

2. My current address is 28 Wild Rose Place, Aliso Viej o, California.

3. Although l am no longer employed by QSI, I fully intend to cooperate with QSI and its

counsel as needed in this matter.

 

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4. As part of my cooperation, l intend to voluntarily appear for a deposition and/or trial
testimony if necessary. No subpoena or Court Order will be required to compel my
appearance

5. In addition, l understand that this matter may eventually be transferred to the Eastern

District of Pennsylvania, sitting in Philadelphia Pennsylvania.

6. ln the event this matter is transferred, l will voluntarily appear for live trial testimony in
Philadelphia without the need of a subpoena or any Court order compelling my
appearance

l declare, under penalty of perjury, that the foregoing is true and correct

 

l\/l.'Benjarriiin Mehling f
DATED: 3/15/2016

 

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EXHIBIT 3

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

rRAcr woLBERT,
Plaimiff,
VS.
UALrTY sYerMs INC. NEXTGEN
ALTHCARE rNFokMATIoN
sYsTEMs and DoEs 1 through 10,
rNcLUsI\/E,

Defendants.

 

cAsE No.= sAcv16-00009 JLs (DFMX)

gissigned to the Hon. Josephine L. Staton,
ourtrm. 10A]

AFFn)Avrr oF MATTHIAS H.
wAGENER EsQ. rN sUPPoRr oF
DEFENDANTS’ MoTIoN To
TRANSFER vENUE

H_earing Date: A ril 1, 2016
Trme: 2: 0 p.m
Courtroom: 10a

Complaint Filed: December 3, 2015
Trial Date: None Set \

AFFIDAVIT OF MA'['I`HIAS H. WAGENERl ESQ.
I, Matthias H. Wagener, Esq., being duly sworn do depose and say as follows:

1. l am the founder and managing attorney of Wagener Law, P.C.

2. I am also licensed to practice law in the State of California

3. ln October 2014, I was retained by Defendant Quality Systems, Inc. (“QSI”) to perform
an investigation into certain allegations made by Traci Wolbert. `

4. In connection with my retention, l signed an engagement letter which, among other
things, obligates me to provide deposition and live trial testimony regarding my

investigation if needed.

5. l interpret this agreement as requiring me to physically attend trial in connection with the
above-referenced matter, if necessary, regardless of whether the trial takes place in

California or some other jurisdiction

 

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6. l fully intend to cooperate with QSl and its counsel as needed in this matter.

7. As part of my cooperation, l intend to voluntarily appear for a deposition and/or trial
testimony if necessary. No subpoena or Court Order will be required to compel my
appearance

8. ln addition, l understand that this matter may eventually be transferred to the Eastcrn

District of Pennsylvania, sitting in Philadelphia Pennsylvania.

9. ln the event this matter is transferred, l will voluntarily appear for live trial testimony in
Philadelphia without the need of a subpoena or any Court order compelling my
appearance

I declare, under penalty of perjury, that the foregoing is true and correct

/M

Mattlrias l-I. Wagendr'

DATED; § - /§' /@

 

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EXHIBIT 4

 

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Explanation of Selected Terms

Number of Judgeships
The number of appeals and district court judgeships reflects the number of authorized federal judgeships
approved by Congress.

Vacant Judgeship lVIonths

Vacantjudgeship months are the total number of months that vacancies occurred in any judgeship position
in a circuit or district On September 30, 2014, a total of 50 vacancies existed in the district courts, and 6
Vacancies existed in the U.S. courts of appeals (excluding the U.S. Court of Appeals for the Federal Circuit).

Court profiles for both the courts of appeals and district courts reflect only caseloads forjudges within the
circuit/district; the profiles do not address judges’ activity when visiting other circuits/districts Detailed
data on visiting judges can be found in Tables V-l and V-2 oer/dl'cr'al Business of the United States Courts.

Applications for Interlocutory Appeals

ln 2012, this category was expanded to include applications for permission to appeal under 28 U.S.C. §
l292(b); appeals from district courts' orders granting or denying motions to remand class actions to the state
courts under 28 U.S.C. § 1453(0); applications for permission to file direct appeals from bankruptcy court
orders under 28 U.S.C. § 158(d); appeals from orders granting or denying class action certification under
Fed. R. Civ. P. 23(f); and various miscellaneous proceedings

Supervised Release Hearings

Beginning with 2002 Federal Court Management Stati.s'rr'cs, data on hearings on violations of conditions of
supervision are included in the district court profiles. These hearings, which are conducted when defendants
violate the terms of supervised release or probation, can result in the modification of conditions or the
revocation of supervision In addition to providing data for the category of supervised release hearings filed
per authorized judgeship, data on these hearings are included in the totals for overall filings and
terminations, filings and terminations per authorized judgeship, and weighted filings per authorized
judgeship. These changes to the district court profiles were approved by the J udicial Conference
Subcommittee on Judicial Statistics.

Weighted Filings

Weighted filings statistics account for the different amounts of time districtjudges require to resolve various
types of civil and criminal actions. The Federal Judiciar'y has employed techniques for assigning weights to
cases since 1946. ln 2004, the Judicial Resources Committee of the Judicial Conference of the United States
approved a civil and criminal case weighting system proposed by the Federal Judicial Center. On a national
basis, weighted filings did not change significantly after the implementation of the new case weights. More
than two-thirds of all district courts saw their weighted filings change by 10 percent or less. Average civil
cases or criminal defendants each receive a weight of approximately 1.0; for more time-consuming cases,
higher weights are assessed (c.g., a death-penalty habeas corpus case is assigned a weight of 12.89); and
cases demanding relatively little time from judges receive lower weights (e.g., an overpayment and recovery
cost case involving a defaulted student loan is assigned a weight of 0.10).

For comparative analysis in this report, the totals for weighted civil and criminal filings for prior years have
been revised based on the new case weighting system. The weighted totals for criminal defendants include
transfers but exclude reopenings. Data on civil cases arising by reopening, remand, and transfer to the

 

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district by order of the Judicial Panel on Multidistrict Litigation arc not included among the totals for
weighted filings.

Median Times

The median times are based on the amount of time elapsed from the date a case was filed to the date of its
disposition for the middle case in a series containing an odd number, or the number midway between the
two middle cases in a series containing an even number, when the cases are arrayed from least to the most
time elapsed.

~ Criminal Felony
F or criminal felony defendants, median time intervals are calculated using the period from the
proceeding date for a defendant (e.g., the date an indictment or information was filed) to the date on
which the defendant was found not guilty or was sentenced. Prior to March 2012, the median time
interval was computed beginning with the defendant’s filing date. Therefore, data for March 2012
and thereafter are not comparable to data for previous periods.

¢ Civil
For civil cases, median time intervals are calculated using the period from the date a case was filed to
the date of its disposition. Median times from filing to disposition reflect all terminated civil cases,
regardless of whether they were disposed of by trial or some other method. Civil median times
exclude data for civil cases involving land condemnation, prisoner petitions, deportation reviews,
recovery of overpayments, and enforcements ofjudgments. Because courts can quickly process cases
involving the recovery of overpayments (which primarily address veterans’ benefits) and
enforcements of judgments (which primarily address student loans), including data on these cases
would shorten the civil median times for some courts to the point of giving an inaccurate impression
of the time usually required to process a case in the federal courts.

0 From Filing to Trial (Civil Only)
F or civil cases, median times from filing to trial are computed using the period from the date a case
was filed to the date trial began. For any reopened civil case resulting in a second completed trial, the
median time is based on the case's original filing date and the date the trial was completed.

Civil Cases Over Three Years Old

Data for cases pending more than three years may not match those presented in the Civil Justice Reform Act
(C.TRA) reports because the profiles presented herein include data for cases on appeal in other courts (i.e.,
the Supreme Court, courts of appeals, other district courts, and state courts), whereas the CJRA reporting
guidelines exclude such data.

Civil and Criminal Felony Filings by Nature of Suit and Offense

Prior to 2005, alphabetical codes corresponded to different offenses and natures of suit. Therefore, data for
2005 and thereafter are not comparable to data for earlier years. Beginning in March 2012, criminal data
count defendants rather than cases and will not match previously published numbers.

 

 

